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 1   JOSEPH JARAMILLO (SBN 178566)                          EILEEN M. CONNOR (SBN 248856)
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 3
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 7                                                          Attorneys for Plaintiffs
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 8

 9

10
                                  UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
     THERESA SWEET, ALICIA DAVIS, TRESA                    Case No.: 19-cv-03674-WHA
13   APODACA, CHENELLE ARCHIBALD,
     DANIEL DEEGAN, SAMUEL HOOD, and
14   JESSICA JACOBSON on behalf of themselves              DECLARATION OF EILEEN CONNOR
     and all others similarly situated,
15                   Plaintiffs,
16
                     v.
17
     ELISABETH DEVOS, in her official capacity
18   as Secretary of the United States Department of
     Education,
19          And
20   THE UNITED STATES DEPARTMENT OF
     EDUCATION,
21                  Defendants.

22

23   I, Eileen Connor, submit this declaration in support of Plaintiffs’ Motion for a Subsequent Case
24   Management Conference.
25           1.      I am an attorney at the Legal Services Center of Harvard Law School and counsel
26   for Plaintiffs in this matter.
27

28                                                     1
     CONNOR DECLARATION                                                        Sweet v. DeVos,
                                                                   Case No.: 19-cv-03674-WHA
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 1             2.     I have reviewed hundreds of communications from the Department of Education

 2   to members of the class, communicating that their borrower defense applications have been

 3   denied.

 4             3.     On July 24, 2020, I sent counsel for Defendants in this matter a letter, via email.

 5   A true and correct copy of that letter is attached hereto as Exhibit A.
               4.     On August 10, 2020, I received a letter from counsel for Defendants via email. A
 6
     true and correct copy of that letter is attached hereto as Exhibit B.
 7
               5.     On August 12, 2020, counsel for all parties conferred via telephone regarding the
 8
     substance of the above-referenced letters. I advised counsel for Defendants at that time that
 9
     Plaintiffs intended to seek a case management conference with the Court.
10
               6.     I sent counsel for Defendants a proposed joint motion for a subsequent case
11
     management conference via email on August 17, 2020.
12
               7.     On August 20, 2020, counsel for Defendants advised me via email that they
13
     would not join the motion, and that their position is as follows: “Defendants do not agree with
14
     Plaintiffs’ characterization of the issues addressed in their motion and believe, among other
15   things, that Plaintiffs raise concerns that are beyond the scope of this litigation and the parties’
16   settlement agreement. Nonetheless, because Defendants recognize that it is in the Court’s
17   discretion whether or not to have a conference and are prepared to appear and discuss Plaintiffs’
18   concerns if the Court determines to do so, Defendants take no position with respect to Plaintiffs’
19   request for a case management conference.”
20

21             Signed under the penalty of perjury on August 20, 2020.

22

23                                                                           /s/ Eileen Connor   _

24                                                                           Eileen Connor

25

26

27

28                                                      2
     CONNOR DECLARATION                                                         Sweet v. DeVos,
                                                                    Case No.: 19-cv-03674-WHA
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                   EXHIBIT A
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                    LEGAL SERVICES CENTER OF HARVARD LAW SCHOOL
                            CENTRO DE SERVICIOS LEGALES
                                            122 Boylston Street
                                 Jamaica Plain, Massachusetts 02130-2246
                                TEL: (617) 522-3003 • FAX: (617) 522-0715



                                                                                             July 24, 2020
VIA ELECTRONIC MAIL

Re:      Sweet, et al. v. DeVos
         Case No. 19-cv-367-WHA (N.D. Cal.)

Dear Charlie and Kevin,

We write to raise concerns regarding recent activity by the Department of Education (ED) on
borrower defense applications, and to request specific information in relation to ED’s activity.

         Background

Plaintiffs initiated this lawsuit on June 25, 2019, alleging that ED had a blanket policy of
refusing to grant or deny borrower defense applications on the merits, in violation of the APA.
ECF No. 1 at 57. On October 30, 2019, the Court certified a class of borrowers “who have
asserted a borrower defense to repayment to [ED], whose borrower defense has not been granted
or denied on the merits,” with a carve-out of individuals who are part of the class certified in
Calvillo Manriquez v. DeVos, No. 17-7106 (N.D. Cal.). ECF No. 46. In November 2019, ED
answered the complaint, ECF No. 55, and moved for summary judgment, ECF No. 63, on the
basis of a certified administrative record, ECF No. 56.

At the time ED moved for summary judgment a little more than six months ago, there was a
backlog of more than 225,000 borrower defense claims. ECF No. 67 at 16. Further, ED had
decided nearly 50,000 borrower defense claims on the merits, but had not notified individuals of
those decisions, in part because ED had “not yet finished its development of a comprehensive
methodology for determining the amount of relief to award successful claimants.”1 ECF No. 56-
3 at 10 (Auer Jones Decl.). ED reported it was “currently prioritizing its limited resources on the
streamlined [Corinthian Job Placement Rate] claims and applications that are likely to be
denied.” Def’s Mtn for Summary Judgment, ECF No. 63 at 16 (citing Nevin Decl.). To the
extent that ED had decided that a borrower had not established a borrower defense, it was

1
 Principal Deputy Under Secretary in ED, Diane Auer Jones, also attested in November 2019 that “The Department
believes that if it issued denials in advance of issuing approvals, borrowers could be confused and believe that the
Department would not be approving any claims—which is not the case. Therefore, in order to prevent confusion and
distress to borrowers who are eligible for relief, the Department decided that it should not issue denials until it has a
methodology in place that will also allow it to issue approvals and relief.” ECF No. 56-3 at 11.
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because the claim was “not supported by the evidence submitted by the borrower or information
otherwise available to” ED, for example when “the borrower actually did not have a Federal
loan” or when “the borrower provided such scant information that [ED] simply lacked a basis for
making a determination favorable to the borrower,” ECF No. 56-3 at 10 (Decl. of Auer Jones).

Plaintiffs moved for summary judgment and opposed Defendants’ motion, ECF No. 67, and filed
a motion to supplement and complete the administrative record, ECF No. 66, and a motion under
Rule 56(d), ECF No. 68. Defendants supplemented the Administrative Record on January 9,
2020. ECF No. 71. On February 20, 2020, the Court heard argument on the summary judgment,
Rule 56(d) and administrative record motions.

           Settlement Negotiations

On November 1, 2019, the parties were referred to Magistrate Judge Donna Ryu for the purposes
of settlement negotiations. ECF No. 47. After negotiation and an exchange of briefs and
information, see ECF No. 97 at 8, the parties reached a settlement agreement (Agreement),
which was executed on April 7, 2020, ECF No. 97-2. The Agreement commits ED to a timeline
for issuing a “final decision” on the merits of each class member’s borrower defense claim, ECF
No. 97-2 at 5-7, or else be required to cancel a portion of student loans, id. at 11-13. In the
agreement, ED represents and confirms that it “issues written decisions as required by the
Department’s 2016 Borrower Defense Regulation.” Id. at 10.

The Court granted preliminary approval to the Agreement on May 22, 2020. ECF No. 103. The
Court required ED to provide notice to the class by July 6, 2020, and set a deadline for objections
to and comments on the settlement of August 20, 2020. ECF No. 105. The Parties replies to the
objections and comments are due September 3, 2020, and the parties must move for final
approval of the Agreement by September 17, 2020. Id.


           Recent Developments

After the parties moved jointly for preliminary approval of the Agreement on April 10, 2020,
ECF No. 97, ED released data showing that it has reduced the backlog of borrower defense
claims.2 These data show that, as of May 30, 2020, there were 127,747 borrower defense claims
awaiting adjudication, and that since December 1, 2019, ED has approved 10,133 claims and
denied 45,228 claims. This is a ratio of approximately 4.5 denials for every approval.

The number of denials that have been issued since the close of summary judgment briefing
nearly matches the number of claims identified in ED declarations as having been adjudicated on

2
    https://studentaid.gov/data-center/student/loan-forgiveness/borrower-defense-data

                                                           2
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the merits but not yet processed. However, ED testified that it had only determined to deny
claims where there was “scant evidence” or no evidence “that would support approval of the
applications.” And although ED had “initiated its review and analysis of the evidence relating to”
certain schools and school groups,3 it lacked “available staff to complete that work” and had “not
yet initiated its work with respect to” other schools or school groups. ECF No. 56-4 at 16
(Nevins Decl.); id. at 11 (“The process to develop review protocols currently is ongoing with
respect to several schools other than CCI.”).

As class counsel, we have heard from hundreds of class members who have received denials in
the recent weeks, and are confused and distressed. Our review of hundreds of adjudication
notices indicates that ED is denying applicants from schools and school groups where ED has
substantial—not scant—evidence in support of the claims, where ED is clearly aware of existing
evidence of misconduct, and where borrowers themselves have provided detailed and extensive
evidence. School groups comprising the pool of recent denials include those where ED has
previously granted borrower defense applications, including Heald, Everest, and WyoTech
(operated by Corinthian Colleges, Inc.), and ITT Technical Institute,4 and those where there have
been significant private legal, regulatory, and/or public enforcement actions for unlawful
behavior affecting students, including Art Institutes (operated by EDMC and Dream Center),
DeVry, Sanford Brown and other schools operated by Career Education Corp., and University of
Phoenix.

Before we can seek final judicial approval of the Agreement, we must inquire into ED’s recent
surge in denials. Dozens of class members have articulated the concern that because of the
Agreement and its timelines, ED is issuing sweeping and blanket decisions on borrower defense
applications without considering the evidence.5 We have not formed a conclusion as to the
merits of these assertions. However, our preliminary review suggests that the denial letters are
conclusory rather than reasoned, and thus raise the distinct possibility that ED is sacrificing a fair
and thorough review in favor of speed, and/or has prejudged the merits of class members’
applications.6 If true, this would raise serious questions about the benefit of the Agreement and
ED’s intention to meet its obligations in good faith.


3
  The Agreement defines “school group” as “the name of a multi-institution or multi-campus organization as defined
in FSA’s Postsecondary Education Participants System (“PEPS”), to the extent that data is included in the borrower
defense review platform. ECF 97-2 at 5-4.
4
  See ECF No. 56-4 at 12- (identifying CCI JPR claims, CCI transfer of credit claims, CCI guaranteed employment
claims, and ITT guaranteed employment claims as categories of approved borrower defense claims with attendant
review protocols).
5
  We have sought guidance from the Court regarding how to best share these statements from class members in a
joint letter submitted by Defendants via email on July 21, 2020.
6
  It has also been reported that Diane Auer Jones, principal deputy undersecretary at ED, blocked a new borrower
defense website being developed by Federal Student Aid because it provided borrowers “with too much
information” and “didn’t match the vision” of ED for borrower defense. Lauren Camera, Whistleblower: Education
Department Killed Website That Made Applying for Loan Forgiveness Too Easy, U.S. News (June 23, 2020),

                                                        3
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         Request for Information

With the above considerations in mind, we kindly request the following information:

    1. Of the 10,133 applications that have been granted since December 1, 2019, the number
       that have received relief determinations;
    2. Of those receiving relief determinations, the number that have been designated for 0%
       relief;
    3. The names of the schools or school groups for which ED has established a category of
       eligible borrower defense claims;
    4. The names of schools or school groups for which ED has made “Step 1” determinations7
       that a borrower is eligible for relief;
    5. The names of schools or school groups for which ED has made “Step 1” determinations
       that a borrower is not eligible for relief;
    6. The protocols under which ED has denied borrower defense claims other than those
       appended as Exhibits 15 through 18 to the Nevin Declaration, ECF No. 56-4.


The requested information is of the kind Defendants have undertaken to provide counsel (and the
public), following the effective date of the settlement. ECF No. 97-2 at 7-10. In light of the
existing deadlines for final approval of the Agreement, we ask that you provide the above
information no later than August 3, 2020.


                                                                Sincerely,


                                                                /s


                                                                Eileen M. Connor
                                                                Counsel for Plaintiffs




https://www.usnews.com/news/education-news/articles/2020-06-23/whistleblower-education-department-killed-
website-that-made-applying-for-loan-forgiveness-too-easy.
7
  Per the Agreement, “Step 1” determination refers to the Department’s decision whether a class member’s borrower
defense application is eligible for relief, i.e., granted or denied, without regard to the amount or type of relief that
will be issued. ECF No. 97-2 at 5.

                                                           4
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                   EXHIBIT B
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                                                      U.S. Department of Justice
                                                      Civil Division
                                                      Federal Programs Branch

                                                      1100 L Street, N.W.
                                                      Washington, D.C. 20530


Kathryn C. Davis                                      Tel: (202) 616-8298
Senior Trial Counsel                                  Kathryn.C.Davis@usdoj.gov

                                                      August 10, 2020

VIA EMAIL
Eileen Connor
Legal Services Center of Harvard Law School
122 Boylston Street
Jamaica Plain, MA 02130

        Re:      Sweet v. DeVos, No. 19-cv-3674-WHA (N.D. Cal.)

Dear Eileen,

        We write in regard to your letter of July 24, 2020, in which you requested information
about the Department of Education’s issuance of borrower defense decisions since December
2019. We appreciate the opportunity to address the matters identified in your letter, as the
parties continue to work toward final approval of the settlement. In light of that shared interest,
the Department provides the following responses to your specific requests:

    1. Of the 10,133 applications that have been granted since December 1, 2019, the number
       that have received relief determinations;

    Response: All 10,133 eligible applications received a relief determination.

    2. Of those receiving relief determinations, the number that have been designated for 0%
       relief;

    Response: Of the 10,133 eligible applications, 17 applications have been designated for 0%
relief.

    3. The names of the schools or school groups for which ED has established a category of
       eligible borrower defense claims;

    Response: The Department has established categories of eligible borrower defense claims
for the following school groups: Corinthian and ITT.
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   4. The names of schools or school groups for which ED has made “Step 1” determinations
      that a borrower is eligible for relief;

    Response: The following school groups have “Step 1” determinations that the borrower is
eligible for relief: Corinthian and ITT.

   5. The names of schools or school groups for which ED has made “Step 1” determinations
      that a borrower is not eligible for relief;

    Response: As of July 29, 2020, the Department has made “Step 1” determinations that
individual borrowers from the enclosed list of schools/school groups are not eligible for relief.
The list includes all schools/school groups where at least 10 individual borrowers have a “Step
1” determination that they are not eligible for relief. Consistent with general practice, as
reflected in the parties’ Settlement Agreement (§ IV.B.4), the Department does not release the
names of schools/school groups with less than 10 individual borrowers to protect the identity of
the individual borrowers.

   6. The protocols under which ED has denied borrower defense claims other than those
      appended as Exhibits 15 through 18 to the Nevin Declaration, ECF No. 56-4.

    Response: The Department has been adjudicating claims using both general and school-
specific protocols. As of July 30, 2020, it determined that individual borrowers from the
following schools/school groups were not eligible for relief using protocols specific to the
evidence in the Department’s possession related to the schools/school groups: Ashford
University, Career Education Corp., Charlotte School of Law, Concorde Career Colleges,
DeVry, ECA College, Education Management Corp., ITT Tech, JTC Education Inc., Kaplan
Inc., Lincoln Technical Institute Inc., McCann School of Business and Technology, Miami -
Jacobs Career College, Star Career Academy, University of Phoenix, Walden University, and
Westwood College.

        More generally, your letter expressed a concern “that ED is denying applicants from
schools and school groups where ED has substantial—not scant—evidence in support of the
claims, where ED is clearly aware of existing evidence of misconduct, and where borrowers
themselves have provided detailed and extensive evidence.” Connor Ltr. at 3. The merits of
borrower defense decisions are, of course, not at issue in this action. However, to the extent it
impacts your assessment of the settlement’s benefit to the class, the Department would like to
provide some further context regarding the borrower defense decisions discussed in your letter.
Most importantly, the Department is not “issuing sweeping and blanket decisions on borrower
defense applications without considering the evidence” in order to meet the timelines of the
Settlement Agreement. Id.

      As previously explained in this litigation, in an effort to maximize adjudications, the
Department’s Borrower Defense Unit (“BDU”) has prioritized the streamlined Corinthian job
placement rate (“JPR”) claims and applications that are likely to be denied. See Declaration of

                                                 2
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Colleen Nevin, Nov. 14, 2019, ¶ 66. The latter includes “applications from borrowers who did
not provide any evidence and who attended schools for which the BDU is not aware of any
evidence that would support approval of the applications.” Id. As reflected from the enclosed
list, there are borrowers from numerous schools/school groups whom the Depatment determined
inelligible on this basis.

        To be sure, the enclosed list also includes schools/school groups for which the BDU has
evidence of misconduct and from which the Department has granted borrower defense
applications of individuals who attended those schools (such as Corinthian and ITT). That does
not necessarily mean, however, that every individual borrower who attended one of those
schools will be eligible for relief. The Department may deny an application because the
borrower has made only broad allegations about a school without specifically alleging any
misrepresentation made to him or her (or a breach of contract or judgment against the school),
and thus has failed to state a claim for a borrower defense. Where a specific claim is stated, the
Department may deny an application where there is insufficient evidence to support the claim.
Denials can occur on this basis notwithstanding that the Department has significant evidence
related to particular schools. For example, a borrower’s allegations may relate to time-periods,
campuses, or programs that are not covered by the evidence in the BDU’s possession related to
the school at issue. In such cases, the evidence obtained by the BDU—which it certainly
considers with respect to the school—is simply not relevant to or does not provide a basis for
approving a specific individual borrower’s application. And if that borrower’s application does
not on its own provide sufficient evidence to corroborate the borrower’s claim, the Department
will deny the application.

        Please keep in mind that the Department can base its decisions only on evidence in its
possession. It obtains such evidence in a variety of ways—e.g., record requests issued during the
borrower defense fact-finding process, evidence received from federal agencies and state
attorneys general, and from borrowers themselves. The Department cannot approve borrower
defense applications based on a mere “aware[ness]” of misconduct by a school or based solely
on the fact that a school has been subject to other “private legal, regulatory, and/or public
enforcement actions for unlawful behavior.” Connor Ltr. at 3.

        As to your concern that “ED is denying applications . . . where borrowers themselves
have provided detailed and extensive evidence,” id., it is difficult to respond to this allegation
without more specific information about the applications to which you refer. In the
Department’s experience, however, it is not typical for a borrower to submit “extensive
evidence” on their own, and most of the applications where borrowers have done so are still
pending. In any event, to the extent that a borrower disagrees with the Department’s decision,
the Department provides detailed guidance on the Federal Student Aid website about how to
request reconsideration of that decision or to submit a new application if the borrower has a
different basis for a borrower defense.

       We understand and appreciate your concern that the decisions issued since December
2019 have largely been denials. The ratio of denials to approvals may potentially improve over

                                                  3
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time as the BDU completes its analysis of evidence related to additional schools and develops
additional review protocols for those schools. Regardless, the Department is not prioritizing the
speed of adjudications over its careful and thorough review of borrower defense applications, nor
has it prejudged the merits of borrowers’ claims. As you know, the parties negotiated
extensively about the adjudication deadlines set forth in the Settlement Agreement and arrived at
a mutually agreeable timeline, which provides the Department more time than the 12-month
period requested in Plaintiffs’ summary judgment motion.

         The Department has always had the goal of adjudicating all borrower defense
applications, and doing so in a timely manner, independent of this lawsuit. The Department’s
efforts over time to achieve that goal have included significant time spent formulating a new
relief methodology on more than one occasion, spending significant litigation resources to
defend its ability to continue adjudicating applications using its methodology, and adding
significant additional resources over time to the processes for resolving each borrower defense
application. The increased adjudication rate in recent months is the fruit of the Department’s
efforts, not the result of a lower level of care by the Department regarding borrower defense
adjudication.

       Please feel free to contact us if you would like to discuss this matter further.


                                                              Sincerely,




                                                              Kathryn C. Davis


Enclosure




                                                 4
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Schools/School Groups where at least 10 individual borrowers have an Ineligible Step 1 Determination
Academy Of Art University
Academy of Healing Arts
Academy Pacific Travel College
Advanced Career Training
Advanced College
Alabama Agricultural & Mechanical University
Alabama State University
Albany State University
Alcorn State University
Allied American University
Alta Colleges, Inc.
American Business Institute
American Business Institute (Closed)
American College
American College of Medical Technology
American Commercial College
American Institute
American Institute of Trucking
American Musical & Dramatic Academy
American Public Education, Inc.
American School of Technology
American University (The)
Anamarc College
Angley College
Anthem College
Anthem Institute
Apollo Group, Inc (University Of Phoenix)
Arizona Automotive Institute
Arizona College
Arizona State University
Arkansas Baptist College
Arkansas State University
Asher College
Associated Technical College
Auburn University Montgomery
Austin Community College
Austin Peay State University
Austin's School of Spa Technology
Avalon School of Cosmetology
Azusa Pacific University
Baker College
Barber - Scotia College
Barclay Career School
Barclay College
Bay State College
Beauty Institute (The)
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Belhaven University
Benedict College
Bethel University
Bethune Cookman University
Blake Business School
Bloomsburg University of Pennsylvania
Blue Cliff College
Boston University
Bowling Green State University
Bradford Schools, Inc.
Brandman University
Brensten Education
Brick Computer Science Institute
Bridgepoint Education, Inc.
Brookline College
Brooks College
Brookstone College of Business
Broward College
Bryant & Stratton College, Inc.
Bryant and Stratton College
Business Industrial Resources
Butler Business School
California College of Vocational Careers
California Institute
California State University - Sacramento
California State University, East Bay
California State University, Fresno
California State University, Long Beach
California State University, Los Angeles
California State University, Northridge
California State University, San Bernardino
Caltius Equity Partners III, LP
Cambria-Rowe Business College
Camelot College
Capitol City Trade & Technical School
Career College of Northern Nevada
Career Education Corp.
Career Institute of Health and Technology
Career Quest Learning Centers
Career Technical College
Career Technical Institute
Casa Loma College
Catherine College
CEC
Center for the Media Arts
Central Connecticut State University
Central Florida Institute
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Central Michigan University
Central Nursing College
Central State University
Chancellor University
Chapman University
Charter College
Cheyney University of Pennsylvania
Chicago Institute of Technology
Chicago State University
Cincinnati State Technical & Community College
CIT College of InfoMedical Technology
Clark Atlanta University
Clark State Community College
Cleveland Chiropractic College
Cleveland Institute of Dental - Medical Assistants
Cleveland State University
College of Business & Technology
College of Health Care Professions (The)
College of New Rochelle (The)
College of Saint Mary
College of Southern Nevada
College of Westchester (The)
Columbia College
Columbia College Chicago
Columbia Southern Education Group, Inc.
Columbus State Community College
Community Care College
Community College of Philadelphia
Concordia College Alabama
Concordia University
Corinthian Colleges, Inc.
Cosmetology Career Institute
Coyne College
Dade Medical College
Daniel Webster College
Davenport University
David Pyle Trust
Dawn Career Institute
Daytona State College
Decker College
Delaware State University
Delgado Community College
Delta Career Education Corporation
Delta Cec
Delta School of Business and Technology
Denver Technical College
DePaul University
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Des Moines Area Community College
Devry
Dover Business College
Dowling College (Private)
Drake Business School
Dream Center Education Holdings (DCEH)
Drexel University
DuBois Business College
Duquesne University of the Holy Spirit
Eagle Gate College
East Carolina University
Eastern International College
Eastern Michigan University
EDMC
Education Futures Management Co.
Educational Management Corporation (Not Education Management Corp.)
Elmira Business Institute
Empire Beauty School
Empire College
Employment Services, Inc.
Everest
Excelsior College
Fairleigh Dickinson University
Fashion Institute Of Design & Merchandising
Fayette Beauty Academy
Florida Agricultural & Mechanical University
Florida Atlantic University
Florida Career College
Florida Institute of Technology
Florida International University
Florida Memorial University
Florida National University
Florida SouthWestern State College
Florida State University
Forest Institute of Professional Psychology
Fountainhead College of Technology
Four-D College
Franklin University
Fremont College
Full Sail Recorders, Inc.
Galen College of California
George Mason University
George Washington University
Georgia Beauty Academy
Georgia Perimeter College
Georgia School of Bartending
Georgia Southern University
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Georgia State University
Glendale Career College
Goodwin University
Graham Holdings Company (Kaplan)
Grambling State University
Grantham Education Corporation
Greenville Technical College
Hair Fashions by Kaye Beauty College
Hallmark University
Hamilton College
Harrisburg Area Community College
Harrison College
Healthy Hair Academy
Henry Ford College
Heritage Institute
Herzing, Inc.
Hillsborough Community College
Hinds Community College
Hiwassee College
Hofstra University
Hollywood Beauty College
Hollywood Institute
Hollywood Institute of Beauty Careers
Houston Community College
Howard University
Huston - Tillotson University
IBMC College
Illinois State University
Indiana Institute of Technology
Indiana State University
Indiana University
Indiana University - Bloomington
Indiana Wesleyan University
Institute for Business & Technology
Institute for Health Education (The)
IntelliTec College
Inter American University of Puerto Rico - San German Campus
Interactive College of Technology
International Air & Hospitality Academy
International Business College
International Career Development Center
Isleworth Partners Inc.
ITT Educational Services, Inc.
Iverson Institute
Ivy Tech Community College of Indiana
Jackson State University
Jacksonville Beauty Institute
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Jefferson Community and Technical College
John Paul Mitchell Systems
Johnson & Wales University
Jones College
Jones International University
Jtc Education, Inc.
Kean University
Kelsey - Jenney College
Kennesaw State University
Kent State University
Kentucky State University
Keystone Technical Institute
Knoxville College
LA College International
Lake Lanier School of Massage
Lane Community College
Langston University
Lansing Community College
Laurus College
Laurus Technical Institute
Leeds Equity Partners IV, L.P.
LeMoyne - Owen College
Liberty University
Lincoln Technical Institute, Inc.
Lincoln University
Lindenwood University
Lon Morris College
Long Island University
LTT Enterprises, Inc
Madison Media Institute
Manhattan Beauty School
Mansfield Business College
Maric College
Marinello School Of Beauty
Marygrove College
Marylhurst University
Mattia College
MCI Institute of Technology
McLennan Community College
MDT College of Health Sciences
Medaille College
Mercer University
Mercy College
Metropolitan State University of Denver
Miami - Jacobs Career College
Miami Dade College
Miami Media School
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Michigan State University
Micropower Career Institute
Mid-Continent University
Middle Tennessee State University
Midlands Technical College
Midwest Technical Institute
Mildred Elley
Miles College
Milwaukee Area Technical College
Minneapolis Community and Technical College
Minnesota State Community and Technical College
Minnesota State University, Mankato
Mississippi Valley State University
Missouri State University
Missouri Technical School
Monroe College, Ltd.
Montclair State University
Morgan State University
Mount Ida College
Mountain State University
Mt. Sierra College
MTA School, Resident School
MTI Business College
MTI College
MTI College of Business and Technology
Musicians Institute
MyComputerCareer.com /TechSkills
Nashville Auto-Diesel College
Nassau Community College
National Academy of Beauty Arts
National College
National Education Center National Institute of Technology Campus
National Polytechnic College
National University System
Navarro College
New College of California
New England Institute of Technology
New England Tractor Trailer Training School of Connecticut
New Jersey City University
New Life Business Institute
New Mexico State University
New School, The
New York Institute of Technology
New York University
Newbury College
Norfolk State University
North Carolina Agricultural & Technical State University
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North Carolina Central University
Northeastern University
Northern Arizona University
Northern Illinois University
Northern Virginia Community College
Northwest Career College
North-West College
Northwestern College
Northwood University
Norwich University
Nova Southeastern University
Novateur Education, Inc.
Nyack College
Ohio Christian University
Ohio Media School
Ohio State University (The)
Ohio Technical College
Olympian Academy of Cosmetology
Omnitech Institute
Oral Roberts University
Orion College
Ottawa University
Owens Community College
Pace University
Pacific Coast College
Pacific Travel Trade School
Park West Barber School
Paul Mitchell the School Green Bay
Pennco Tech
Pennsylvania Institute of Technology
Pennsylvania School Of Business
Pennsylvania State University (The)
Phoenix College
Pinnacle College
Pioneer Education, LLC
Pioneer Pacific College
Pittsburgh Technical College
Portland Community College
Portland State University
Post University, Inc.
Prairie View Agricultural & Mechanical University
Premier Education Group L.P.
Prism Career Institute
Professional Careers Institute
Prospect College
Provo College
PTC Career Institute
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Purdue University
Purdue University Northwest
Quad Partners III-A LP
Quest College
Quincy College
Rasmussen College
Rasmussen College, Inc.
Real Barbers College (The)
Regency Corporation
Regent University
Regis Corp.
Regis Corporation
Regis University
Remington College
Ridley - Lowell Business & Technical Institute
Rio Salado Community College
Robert Morris University Illinois
Rochester Institute of Technology
Ross Education, LLC
Royal Beauty Careers
Rutgers, the State University of New Jersey
SAE Expression College
Saint Augustine's University
Saint John's University
Saint Joseph's College
Saint Leo University
Saint Louis College of Health Careers
Saint Paul's College
Salon Academy (The)
Salon Professional Academy (The)
Sam Houston State University
San Diego College
San Francisco State University
San Joaquin Valley College, Inc
San Jose State University
Santa Barbara Business College
Savannah College of Art and Design
Savannah River College
Sawyer College
School of Communication Arts of North Carolina
Seminole State College of Florida
Seton Hall University
Shaw University
Sojourner-Douglass College
South Carolina State University
South Coast College
South College
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Southeastern Academy
Southeastern College
Southeastern Louisiana University
Southeastern University
Southern Careers Institute
Southern College
Southern Illinois University at Carbondale
Southern Institute of Cosmetology
Southern New Hampshire University
Southern Technical College
Southern University and Agricultural & Mechanical Colg at Baton Rouge
Southern University at Shreveport - Bossier City
Southwest Acupuncture College
Southwest University of Visual Arts
Sp/Palm Iec Holdings LLC (United Education Institute)
Springfield College
St. Catharine College
St. Petersburg College
Star Career Academy
Star Technical Institute
Stark State College
State College of Florida, Manatee-Sarasota
Stautzenberger College
Steiner Leisure Ltd.
Sterling Partners
Stillman College
Stratford University
Strayer Education Inc.
Suburban Technical School
Summer Street Capital Ii, LP
Summit College
SUNY College at Buffalo
SUNY Empire State College
Tarrant County College District
Tcs Education System
Technical Career Institutes
Tennessee Academy of Cosmetology
Tennessee State University
Tennessee Temple University
Texas Barber College
Texas Southern University
Texas State Technical College
Texas State University
Texas Tech University
The Porter And Chester Inst., Inc.
Tidewater Community College
TONI&GUY Hairdressing Academy
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Touro College
Trainco Bus School
Tricoci University of Beauty Culture
Trident Technical College
Trident University International
Troy University
Trumbull Business College
Ultimate Medical Academy
Unitech Training Academy
United College of Business
United Schools
Universal Technical Institute
Universidad Ana G. MÃ©ndez - Gurabo Campus
University of Advancing Computer Technology
University of Akron (The)
University of Alabama
University of Alabama at Birmingham
University of Antelope Valley
University of Arizona (The)
University of Arkansas at Little Rock
University of Bridgeport
University of California, Los Angeles
University of Central Florida
University of Cincinnati
University of Detroit Mercy
University of Florida
University of Houston
University of Houston - Downtown
University of Illinois at Chicago
University of Louisville
University of Maryland Global Campus
University of Maryland, College Park
University of Memphis (The)
University of Miami
University of Minnesota - Twin Cities
University of Mississippi
University of Nevada - Las Vegas
University of Nevada , Reno
University of New Mexico
University of New Orleans (The)
University of North Texas
University of San Francisco
University of South Alabama
University of South Carolina - Columbia
University of South Florida
University of Southern California
University of Southern Mississippi
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University of Southernmost Florida
University of Tennessee
University of Texas at Arlington
University of Texas at Dallas
University of Texas at El Paso
University of Texas at San Antonio
University of the Cumberlands
University of the District of Columbia
University of Toledo
University of Washington - Seattle
University of Wisconsin - Milwaukee
USA Training Academy Home Study
Utica School of Commerce
Valdosta State University
Valencia College
Valparaiso University
Victory University
Virginia Intermont College
Virginia State University
Vocational Training Institute, Inc.
Wake Technical Community College
Wayne County Community College District
Wayne State University
Webster Career College
Webster University
Wengen Alberta, Limited Partnership (Laureate Education)
West Tennessee Business College
West Virginia University
Western Beauty Institute
Western Kentucky University
Western Michigan University
Western Technical College
Weston Educational, Inc.
Westwood
Whittier College
Wichita Technical Institute
Wilfred Academy of Hair & Beauty Culture
Willis Stein & Partners III, L.P.
Yorktowne Business Institute
Youngstown State University
